       Case 1:22-cv-00125-SWS Document 265-1 Filed 01/25/24 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING

CUSTODIA BANK, INC.           }
                              }
                Plaintiff,    }
                              }
          vs.                 }                           Civil No. 1:22-cv-00125-SWS
                              }
FEDERAL RESERVE BOARD OF      }
GOVERNORS and FEDERAL RESERVE }
BANK OF KANSAS CITY,          }
                              }
                Defendants.   }

                    ORDER GRANTING FEDERAL RESERVE BANK OF
                     KANSAS CITY’S UNOPPOSED MOTION TO FILE
                             ITS MOTIONS UNDER SEAL

              THIS MATTER having come before the Court, and the Court having considered

Federal Reserve Bank of Kansas City’s Unopposed Motion to File Its Motions Under Seal [the

“Motion”], and being fully informed on the matter, finds that FRBKC’s Motion should be

granted.

              IT IS HEREBY ORDERED that Defendant is permitted to file Defendant’s

Cross-Motion for Summary Judgment and Opposition to Plaintiff’s Petition for Review and

Motion for Judgment as a Matter of Law, Defendant’s Motion to Strike Reports and Exclude

Testimony of Professor Peter Conti-Brown, Defendant’s Motion to Strike Reports and Exclude

Testimony of Katie Cox under seal through February 1, 2024.

              IT IS FURTHER ORDERED that FRBKC will file its Motions and attached

exhibits on the public docket with the parties’ agreed upon redactions and sealing on or before

February 2, 2024.

              Dated: ____ January 2024.


                                           __________________________________________
                                           KELLY H. RANKIN
                                           United States Magistrate Judge
